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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                    4:12CR3057
                                              )
              v.                              )
                                              )
DIWANCHA SHONTALL BROWN,                      )         MEMORANDUM AND ORDER
                                              )
                     Defendants.              )
                                              )


      Additional time is needed to finalize the terms of the parties’ plea agreement.
Accordingly,

       IT IS ORDERED:

       1)     The defendant’s oral motion to continue defendant’s change of plea hearing,
              (filing no. 56), is granted.

       2)     The defendant's plea hearing will be held before the undersigned magistrate
              judge on February 7, 2013 at 10:30 a.m.. The defendant is ordered to appear
              at this hearing.

       3)     For the reasons stated by counsel in the motion, the Court finds that the ends
              of justice served by continuing defendant's plea hearing outweigh the best
              interest of the defendant and the public in a speedy trial. Accordingly, the time
              between today's date and February 7, 2013 shall be excluded for speedy trial
              calculation purposes. 18 U.S.C. § 3161(h)(7).


       DATED this 30th day of January, 2013.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
